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                            "MMZTPO ,FXJO
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                              "NBOEB $PQF
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                                                                                       April 7, 2021
                                                                                     Amanda R. Cope

                                                                           Salt Lake City, Utah 84106

Honorable Emmet G. Sullivan
333 Constitution Ave. NW.
Washington, DC 20001

Your Honor,

        In Reference to Case Number 1:21-CR-35 (EGS), I would like to testify on behalf of my
brother’s character. I understand that Jack Wade Whitton is being accused of assaulting a police
officer on January 6th, 2021 and these accusations involve criminal conduct.

         I was both troubled and shocked to hear about the allegations that Jack Wade Whitton
faces because it is truly out of his character. I honestly believe, from the bottom of my heart, that
if he is released on bond, he will not pose any threat to any person, to the community, or any
property of the community. I believe he will not pose any risk of fleeing from the jurisdiction of
the court or fail to appear in court when required. I believe he will not pose any risk of intimidating
any witnesses or otherwise obstructing the administration of justice pertaining to his present case.

        Jack Wade Whitton is an honest and trustworthy person. His family and his community
depend on him. I hope that you can take this letter in consideration on April 12th. Thank you for
your time.

Sincerely,

Amanda R. Cope
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                            %FOOZ ,JOHSFZ
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
                     Plaintiff,        )
                                       )
             vs.                       )        CASE NO.: 1:21-CR-35 (EGS)
                                       )
JACK WADE WHITTON,                     )
                                       )
                     Defendant.        )
                                       )

                   AFFIDAVIT OF: -DFN :ULJKW

                                           1.

      My name is       Jack Wright                   . I am over the age of majority

and suffering from no mental or legal disabilities.       I am further legally and

mentally competent to attest to the facts set forth in this affidavit, the same being

of my own personal knowledge.

                                           2.

      I have known Jack Wade Whitton for        20   years.

                                           3.

      I am fully aware that Jake Wade Whitton has been accused of assaulting a

police officer on January 6, 2021. I certainly acknowledge that such an accusation

involves serious criminal misconduct. However, based upon my knowledge of Mr.

Whitton, I feel that if Mr. Whitton is released on bond he will pose no threat or
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Conyers, GA 30094

Date: April 6, 2021


RE: Jack Wade Whitton


To: The Honorable Judge Emmet G. Sullivan


I have known Wade for 17 years. In that time I have seen him grow into a man of character and
leadership, someone that I certainly look up to and depend on. I have full knowledge of the
accusations against Jack Wade Whitton, and I would like to vouch for his character. I am fully
confident that this incident is out of character for Wade.

I would not be the business owner, father, or friend that I am today if it weren’t for my
relationship with Wade. He has been an incredible example of hard work and a true friend.
Wade has given me work when I was between jobs, and motivated me to believe in my abilities
to put time and eﬀort in to my own company and become successful. I have worked alongside
Wade many times, some of those times just because I truly enjoy being around him and the
motivation it brings me. Wade has employed and poured his time and eﬀort into many people
to help them get on a productive path in life, where most would not give them a second
chance. I have seen him show compassion and forgiveness to employees and even friends, a
character trait that some people just do not have.

Wade is someone that I certainly depend on for sound advice, he is level headed and straight
forward anytime that I bring him questions or problems. He is someone that I look forward to
my son knowing as he grows up, hoping that he is inspired the same way I have been from
being around Wade and seeing the impact he has on those around him.

I have spent a lot of time with Wade these last 17 years, sun up to sun down, long rides in the
truck or days on the water fishing. I can say with 100% confidence that Wade is not a violent
person. He has never been nor ever will be a danger to those around him. He is an extremely
productive member of society. Wade has built up his own fence company and currently
employs people that depend on him. I know that his customers, employees, friends and family
would all report that Wade is a kind, compassionate, hard working man.

Thank you for your time and consideration. Sincerely,




Jeﬀrey Scott Bingham
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                          -BVSFO 4DIVTUFS
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